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                            UNITED STATES DISTRICT COURT
                            SO UTH ERN DISTR ICT O F FLOR IDA

                             CASENO. U . tï-TQ '

  UNITED STATES O F AM ERICA




  EDUARDO ENRIQUE M ENDOZA OLIVARSeta1.
                      Defendants.
                                                         /

                                C R IM IN AL CO VER SH EET

        Did thismatteroriginatefrom a matterpending in theNorthern Region ofthe United
        StatesAttonaey'sO ffice priorto October 14,2003:7           Yes      X     No

  2.    Did this m atteroriginate from a m atterpending in the CentralRegion ofthe United States
        A ttorney'sO ffice priorto Septem ber 1,2007?                Yes      X No


                                            Respectfully Subm itted,

                                            W IFRED O A .FERRER
                                            U NITED STATES A TTO RN EY



                                     By:       z y,e')           .
                                                                       y.(y,
                                                                       y   yum
                                            Y N E            l UEZ-SCH AC K
                                            A s istantU ite ta sA ttorney
                                            Flo idaNo. 46 6
                                            99 ortheast4t treet,Suite 700
                                            M ia i,Florida 33132
                                                .961.9014
                                            305.536.7213 Facsim ile
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AO 9I(Rev,08/09) CriminalComplaint

                                U NITED STATES D ISTRICT COURT
                                                           forthe
                                                Southern DistrictofFlorida

               UnitedStatesofAmerica                          )
                         v.                                   )
           EduardoEnriqueMendpza Olivar,                      )         CaseNo.    1S 2*11''I'WG
                JohnnyHenryJones,                             )
              Jose InosenteReyes,and                          )
                 AlexisJosueVarela,                           )
                        De
                         fendanlls)

                                                 CRIM INAL CO M PLAINT

        1,thecomplainantin thiscase,statethatthefollowing istrue to thebestofmy knowledge and belief.
Onoraboutthedatets)of                      May27,2015         inthecountyof                   Miami-Dade            inthe
               Districtof                  Fl
                                            orida     ,thedefendantts)violated:
          CodeSection                                                    OffenseDescription
Title 46,Uni
           ted StatesCode,                  Did knowinglyandwillfully conspire to possesswith the intentto distribute a
Section70506(b)                             controlledsubstance,whileonboardavesselsubjecttothejurisdictionofthe
                                            UnitedStates,inviolationofTitle46 U.S.C.j 70503(a)(1)'
                                                                                                 ,aIIinviolationof
                                            46U.S.C.70506(b).PursuanttoTitle46 U.S.C.j70506(a),andTi      tle21
                                            U.S.C.j960(b)(1)(G),itisfurtherallegedthatthisviol
                                                                                             ationinvolvedone
                                            thousand kilograms ormore ofa mixture and substance containing a
                                            detectable amountofmarihuana.


        Thiscriminalcomplaintisb% ed on thesefacts:


                                              See attached Affidavit.


        W Continuedontheattachedsheet.
                                                                                               r e    ..     -

                                                                                      Complainant'
                                                                                                 ssi
                                                                                                   gnature

                                                                              David Brockman,SpecialAgent,DEA
                                                                                       Printed nameand title

Swornto before meand signed in my presence.


Date:          06/12/2015
                                                                                         Judge'
                                                                                              ssl
                                                                                                knature
City and state:                       Miami,Florida                        Hon.EdwinG.Torres,#.S
                                                                                               ..M-qqistrateJudge
                                                                                       Printed nameandtide
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                                            AFFIDA VIT

         1,David J.Brockman,being duly sworn,depose and stateasfollows:

                  lam a SpecialAgentwith the United States Drug Enforcem entAdministration

  (i1DEA'') and have been so employed since June 2010. As a DEA SpecialAgent,l have
  participated in the investigation of numerous narcotic trafficking cases. I have received

  specializedtrainingon thesubjectofnarcoticstrafficking and money launderingfrom theDEA
  and have been personally involved in investigations concerning the possession,m anufacture,

  distribution,and importation ofcontrolled substances,as wellasm ethods used to finance drug

  transactions.

         2.       I subm itthis Affdavitbased on inform ation known to m e personally from the

  investigation,as wellas information obtained from others who were directly involved in the

  matter orhave personalknowledge ofthe facts herein. ThisAffidavitdoes notinclude a11the

  information known to m e,but only information sufieientto establish probable cause for the

  arrestofEduardo Enrique M ENDOZA OLIVAR,Johnny Henry JONES,Jose InosenteREYES,

  and AlexisJosueVARELA,in violation ofTitle46,United StatesCode,Sections70503(a)(1)
  and70506(b).
                  O n M ay 27,2015,a go-fastvesselw as detected travelling in internationalw aters

  and upon the high seas approxim ately 100 m iles south of San A ndres Island,Colom bia. The go-

  fast was described as approxim ately 40' in length with a fiberglass hull and three outboard

  motors. The go-fasthad a large num beroffueldrums on board. The go-fasthad no nam e and

  appeared to be unregistered. The U CGC Resolute approached the go-fastin orderto investigate.

  Once the crew of the go-fast detected the USCG'S presence,the crew began jettisoning
  num erous bales ofsuspected narcotics into the sea.
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         4.     TheUSCO Resolute wasableto stop and securethego-fastand itscrew. During

  the right of approach questioning,no claim of nationality was m ade for the go-fast.USCG

  requested and wasissued a StatementofNo Objection (SNO)to treatthe vesselaswithout
  nationality.W hile the USGC was conducting its boarding,the go-fast's crew made a verbal

  claim ofCosta Rica nationality for them selves and the vessel. Based on the verbalclaim of

  nationality,the United States contacted the Governm ent of Costa Rica. The Govem m entof

  Costa Rica denied the vessel'snationality. USCG personnelcontinued theirboarding underthe

  StatementofNo Objection.USCG recovered atotalof62 balesweighing approximately 3,100
  pounds which tested Positive for marijuana.The go-fastwas unable to be towed and was
  destroyed asa hazard to navigation.

         5.     The fourcrew members on board the go-fastwere identified as Eduardo Enrique

  M ENDOZA OLIVAR, Johnny Henry JONES, Jose Inosente REYES, and Alexis Josue

  VARELA, A11fourcrew mem berswere detained forofficers'safety and latertransferred to the

  U SCG Resolute. Subsequently, the U SCG Resolute transferred custody of the four crew

  m em bersto the U SC G Vigilant.




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         6.     On June 12,2015,USCG Vigilantarrived in M iami-Dade County,Florida were

  the M ENDOZA OLIVAR, JONES, REYES and VARELA first entered the United States.

  USCG transferred custody ofthe fourcrew membersto United Stateslaw enforcementofficers.

         FU RTH ER A FFIA N T SA YETH N A UG H T.



                                           V    (                N
                                      D A V ID J.    KM    u PECIA L A GEN T
                                       D RUG EN FOR CEM EN T A D M ISITM TIO N

  Subscribed and sw orn to m e
  before this 12th day ofJune,2015.




  EDW m G . O RRES
  UN ITED S A TES M A G ISTM TE JUD G E
